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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA,          )
                                   )
    v.                             )     CRIMINAL ACTION NO.
                                   )        2:98cr130-MHT
DWAYNE LAMAR HAWKINS               )            (WO)

                                ORDER

    After    an   independent      and   de   novo    review    of      the

record, it is ORDERED Dwayne Lamar Hawkins’s motion to

modify or terminate his supervised release (Doc. No. 193)

is granted and that his supervised release is terminated,

that is, he is no longer subject to supervised release.

    DONE, this the 16th day of May, 2014.



                             /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
